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;F Bruce'l"homas .;, "§
6742 Camino Del Prado W_ gun i L" i: D
Carlsbad, CA 9201 l (Mailing Address Only) §BE@ 39 ga };§3
Phone 760-»496-4281 § m _W l "
Plaintiff Pro Per %l§i?l.§“ ‘ q: :":-`:Fm'l.;"":;t'§r;za
'§ UNITED S'E`ATES DIS'_I`R_ICT CGURT seem
z SOl_lTHERN DlSTR[CT OF CALIF{)RN]A
§ BRUCE‘ THOMA:'), ll}divldl].&l Cltl.ZCl}, Case No- l17cv2587 JLS AGS
§: l-’§aintiff`,

V, COMPLAINT FOR:

(`_`()UNTY OF SAN I)IHGO, CALII§"(')R'NIA; (l} M`ALICI()US ABUSE OF PROCESS

_ `B(l)NNlE lvl. DUMANIS, individually and in (42 U_S,C_ § 1983);

her official capacity as District Attorney ol`San

§§ D§Ca<) COuHo/; DREW W. G/\RRISOI~§’1 (2) DECEIT (42 U.S.C. § 1933; ciai. Civii
. §§ individually and in his official capacity as C@de § 1710 and Cai. Pena! Code§ 133);

(,`AMMAN EE. Sl\/ll"l`l;i, individually and in her (3) l>R()S§§CUTORIAL MISCONDUC'I`
official capacity as l)epiity Diatrict Attorriey of ( 18 U.S.C. § 242);
San `Diego C-ounty,

§§ [-)et.elldams' (4) _NHGI ;IG`EN C 11 (Cai. Governmcnt

Cmie § ais.s)i

 

 

Plaintiff B.riice "l"lioinaa (Plaintif`f) upon information, belief and having been a Witness

§§ liercon, alleges the following

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? 5 §_ Deiciition _Pacility, Plainlit`t` Was battered by two jail inmates. Had the egregious misconduct of

26

;2'§

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§N'I`ROI)UCTION

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§ l_ "`l"iiis civil rights action aeeks compensatory and punitive damages from De_ii`endanls

§§ for their negligence malicious abuse of pi‘ocesa, deceit and prosecutorial misconduct bringing

§§ c c . \. . . . `, . . . . . .
§ i'ortli a miscarriage of justice and Plaintifi‘ S imprisonment in the Saii Diego Cou.nty Jail May

l"/`, 20]\7 through l\/iay 23, 2017 and then from June ?.O, 20§'§' through September 30, 2017. On

§§ .lune 28, 2017, While P|aintif`f was in the custody oftlie San Diego Sl"ierit`f at the East Mesa
|

the l)el"endants not cheated Plaintiff out of due process in the Statc court, Plaintifi`would not

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have suffered physical injury, emotional trauma and he Would presently not be living in a
rescue mission homeless shelter suffering ongoing severe emotional anguish.
JURISDICTION AND VENUE

2. .This case arises under 42 U.S.C. § 1983 and Califomia lavv. This Court has subject
matter jurisdiction over this action pursuant to 28 U.S.C. § 1331. This Court has subject matter
jurisdiction over Plaintiff’s pendent and supplemental state law claims under 28 U.S.C. § 1367.

3. Venue is proper in this District pursuant to 28 U.S.C. § 1391 (b) and (e) in that (l)
the unlawful actions challenged herein occurred in the Southern District and (2) all of the
parties reside in the Southern District.

PARTIES n

4. Plaintiff brings this action in his individual capacity At all relevant times, Plaintiff
Was a resident of San Diego County and a citizen of the State of Califomia Pursuant to the
allegations in this complaint, Plaintiff filed a timely government tort claim With the County of
San Diego, Which the County rejected on July 5 , 2017.

5. Det`endant, County of San Diego (COUNTY), is a municipality duly organized
under the laws of the State of Califomia. At all relevant times, Defendants, Bonnie M.
Dumanis (Dumanis), DreW W. Garrison (Garrison) and Callan E. Smith (Smith) were officers
and/or employees of COUNTY. COUNTY is responsible for Plaintift’s injuries under 42
U.S.C. § 1983 because its official policies, practices and/or customs caused Plaintiff’ s injuries.
COUNTY is also responsible for actions of its employees under a respondeat superior theory.
Liability under Califomia law for all government entities and/or employees is based upon
Califomia Govemment Code § 815 .6. Liability under Califomia Civil Code § 52.1 is based
upon allegation that misconduct of Garrison and Smith occurred for Want of promotion.

6. Pursuant to 42 U.S.C. § 1983, the prosecutorial misconduct of Dumanis and Smith is
punishable under 18 U.S.C. § 242, Whereon Plaintiff’s rights Were deprived resulting in
physical bodily injury to Plaintiff, his emotional trauma and his ongoing severe emotional
anguish. Under California laW, Defendant’s deceitful conduct is codified in Cal. Civil Code §

1710, Which is punishable under Cal. Penal Code § 133.

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7. At all relevant times, Defendants Garrison and Smith were COUNTY Deputy
District Attorney employees acting under color of law within the course and Scope of their
respective duties as prosecutors under supervision of Defendant, Dumanis, COUNTY District
Attorney. At all relevant times, Dumanis was the official responsible for setting and enforcing
the policies, customs and practices for the COUNTY Office of the District Attorney.

8. In committing acts or committing the omission of acts alleged in this complaint as
co-worker cohorts, Garrison, Smith and Dumanis acted knowingly, maliciously and with
reckless or callous disregard for the tort and constitutional rights of Plaintiff, justifying an
award of punitive damages under federal and Califomia law against each individual Defendant.

FACTS COMMON TO ALL CAUSES OF ACTION

9. Pursuant to state court case number CN363808, the San Diego County Office of The
District Attorney charged Plaintiff with one count of violation of a court order under Cal. Penal
Code § 166. Plaintiff pled not guilty at his arraignment and was granted his request to be a self-
represented defendant

10. Plaintiff moved the court to suppress evidence under authority of Cal. Penal Code §
153 8.5. Plaintiff subpoenaed his arresting police officer to give testimony at the suppression
hearing, which was set for December 16, 2016. On December 14, 2016, Defendant Garrison
filed motion under authority of Cal. Penal Code § 1050 to continue the suppression hearing
based on Garrison’s declaration that Defendant’s arresting police officer was out-of-town
vacationing on the day of the suppression hearing

11. Due to Plaintiff not receiving the service of Garrison’s untimely continuance

motion until after the date of the suppression hearing, Plaintiff and two of the three witnesses

4 Plaintiff called to appear attended the hearing. Plaintift” s arresting police officer, Natali

Salazar, did not appear at the hearing but had been served with a subpoena to appear 23
calendar days before the hearing. As a result, the court withdrew Plaintiff’ s suppression motion
without prejudice f

12. The state court subpoena required Police Officer Salazar to obtain permission from

Plaintiff if she was not able to attend the suppression hearing but Officer Salazar never

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contacted Plaintiff after she was served Instead, Garrison moved the court to continue the
suppression hearing. Until Plaintiff exercises Federal Rules of Evidence, Rule 501, and Federal
Rules of Civil Procedure, Rule 34 and Rule 45 , it remains to be seen whether Officer Salazar
was out-of-town vacationing on the day of the suppression hearing and whether Garrison
abused process deceiving the court with a fraudulent pleading writ to avoid suppression of
evidence

13. Plaintiff’ s trial for court order violation was set for May 17, 2017. By this time,
Garrison had been transferred to another venue and Deputy District Attorney, Callan E. Smith,`
was prosecuting Plaintiff’ s case. At approximately 10:00 a.m. on May l7, 2017, Vista Superior
Court Judge, Carlos O. Armour, Department 5, assigned Plaintiff’ s trial to be heard by The
Honorable Richard S. Whitney, Department 21, in the afternoon of May 17th. Immediately
following Judge Armour’s order, Plaintiff proceeded to Department 21 so he might hear Judge
Whitney as a spectator before Plaintiff’s trial commenced

14. When Plaintiff arrived at Department 21\, he found the entry door to be locked due
to a trial already in session. Plaintiff decided to leave the courthouse and come back at 1:30
p.m., but as Plaintiff was leaving he connected with Prosecutor Smith at about 10: 15 a.m. as
she was getting off the elevator. l

15. Plaintiff asked Smith What time his trial in the afternoon would begin. Smith
responded saying she didn’t know but told Plaintiff that she was going into Department 21 and
that he could ask the courtroom clerk. Plaintiff told Smith the entry door to Department was
locked and Department 5 ordered his trial to commence in the afternoon Nothing more was
said between Plaintiff and Smith and Plaintiff left the courthouse Disregarding order
Plaintiff’s trial was to start in the afternoon, Smith Went into the locked courtroom of
Department 21 and commenced Plaintiff’ s trial at approximately 10:30 a.m. without Plaintiff in
the courtroom When Plaintiff came back to the courthouse in the afternoon of May 17, 2017,
he was arrested at 1120 p.m. in the hallway in front of Department 21. Plaintiff was booked and
held by the Sheriff until May 23, 2017.

16. May 17, 2017 Department 21 minutes show Plaintiff failed to appear by not

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intentional, oppressive, reckless and/or were done in Willful and conscious disregard of
Plaintiff’ s rights, safety and welfare, thereby justifying the awarding of punitive and exemplary
damages in an amount to be determined at time of trial.

26. As a direct and legal result of Defendant’s acts and omissions, Plaintiff has suffered
damages including without limitation, pain and suffering, extreme mental and emotional
distress, bail fees, loss of earnings and loss of his home, whereas Plaintiff having been found
guilty of court order violation was ordered evicted from his home and he is currently residing
in a rescue mission homeless shelter. Plaintiff also suffers pecuniary losses not yet ascertained

SECOND CLAIM FOR RELIEF
Deceit (42 U.S.C. § 1983)
Cal. Civil Code § 1710 and Cal. Penal Code § 133
(Against Defendants, Garrison and Smith)

27. Plaintiff repeats and re-alleges each and every allegation in paragraphs 1 through 26
of this Complaint with the same force and effect as if fully set forth herein.

28. To avoid case dismissal for lack of evidence and increased chance of job
promotion, Defendant Garrison filed a pleading writ at Plaintiff’ s expense, which states
Plaintiff’ s arresting police officer was out-of-town on vacation and would not be able to attend
the suppression hearing scheduled for Plaintiff’ s motion to suppress evidence Under
circumstances described in paragraphs ll and 12, Plaintiff believes Garrison willfully abused
process deceiving the court with a fraudulent pleading Writ to avoid suppression of evidence

29. Defendant Smith for want of promotion deceived the court by adding an
adjudicated double jeopardy charge to Plaintiff’s pendent court order violation charge Smith
also deceived the court by making it seem that Plaintiff failed to appear for trial.

30. Plaintiff alleges that the acts of Defendants Garrison and Smith were willful, malicious,
intentional, oppressive, reckless and/or were done in willful and conscious disregard of
Plaintiff’s rights, safety and welfare, thereby justifying the awarding of punitive and exemplary

damages in an amount to be determined at time of trial.

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THIRD CLAIM FOR RELIEF
Prosecutorial Misconduct (18 U.S.C. § 242)
Fourteenth Amendment
(Against all Defendants, with the exception of Defendant Garrison)

32. Plaintiff repeats and re-alleges each and every allegation in paragraphs 1 through 31
of this Complaint with the same force and effect as if fully set forth herein.

33. After Plaintiff’ s court order violation trial commenced, while Plaintiff was a self-
represented defendant, Smith willfully told the court, knowing that Plaintiff would not be
present in the courtroom, that another department had just ordered Plaintiff’ s trial to commence
forthwith Smith charged Plaintiff double jeopardy for a crime he Was already convicted of in
which Plaintiff had fulfilled all of the sentencing requirements Thereafter, when Plaintiff was
represented at trial by public counsel, Smith willfully and knowingly disobeyed a direct order
for exclusionary testimony by arranging a messenger to convey testimony to prosecution
witnesses who were not in the courtroom Smith also had her police officer witness in the
courtroom while another witness for the prosecution rendered their testimony.

34, Plaintiff believes instead of Defendants COUNTY and/or Dumanis taking proper
steps to discipline Smith for her acts, COUNTY and/or Dumanis condoned, encouraged and
fostered the unlawful conduct of Defendant Smith. As a result of Defendant’s actions,
Defendants Smith, Dumanis and COUNTY are liable for Plaintiff’ s injuries, either because
they were integral participants in the acts or because they failed to intervene when they had the
opportunity and duty to do so to prevent prosecutorial misconduct

35. Plaintiff alleges that the acts of the Defendants were willful, malicious, intentional,
oppressive, reckless and/or Were done inwillful and conscious disregard of Plaintiff’s rights,
safety and welfare, thereby justifying the awarding of punitive and exemplary damages in an
amount to be determined at time of trial.

36. As a direct and legal result of Defendant’s acts and omissions, Plaintiff has suffered
damages including without limitation, pain and suffering, extreme mental and emotional

distress, bail fees, loss of earnings and loss of his home, whereas Plaintiff having been found

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guilty of court order violation was ordered evicted from his home and he is currently residing
in a rescue mission homeless shelter. Plaintiff also suffers pecuniary losses not yet ascertained
FOURTH CLAIM FOR RELIEF
Negligence (Cal. Govemment Code § 815.6)
(Against Defendants, COUNTY and Dumanis)

37. Plaintiff repeats and re-alleges each and every allegation in paragraphs 1 through 36
of this Complaint with the same force and effect as if fully set forth herein.

38. Defendants COUNTY and Dumanis violated Califomia Govemment Code § 815.6
by failing to properly train, supervise and discipline Defendants Garrison and Smith while they
prosecuted Plaintiff’s misdemeanor charge in the state court. As a direct result of Defendant’s
acts and/or omissions, Defendants are liable for Plaintiff’s injuries, either because they were
integral participants in the misconduct or because they failed to intervene when they had the
opportunity and duty to do so to prevent violations

39. Plaintiff alleges that the acts of the Defendants were willful, malicious, intentional,
oppressive, reckless and/or were done in willful and conscious disregard of Plaintiff’ s rights,
safety and welfare, thereby justifying the awarding of punitive and exemplary damages in an
amount to be determined at time of trial.

40. As a direct and legal result of Defendant’s acts and omissions, Plaintiff has suffered
damages including without limitation, pain and suffering, extreme mental and emotional
distress, bail fees, loss of earnings and loss of his home, whereas Plaintiff having been found
guilty of court order violation was ordered evicted from his home and he is currently residing

in a rescue mission homeless shelter. Plaintiff also suffers pecuniary losses not yet ascertained

PRAYER FOR RELIEF
WHEREFORE, Plaintiff requests entry of judgment in his favor and against Defendants
as follows:

A. For compensatory damages in an amount to be determined at trial;

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B. For punitive damages against individual Defendants in an amount to be proven at
trial;
C. _For reasonable costs of this suit and attorneys’ fees and

D. For such further relief as the Court may deem just, proper and appropriate

Dated: December 28, 2017 By; wm

Bruce Thomas
Plaintiff Pro Per

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DUPLICAlE

Court Name: USDC Ealitornia Southern
Division: 3

Rsceipt Nuabar: CA8097037

Cashier ID: fjaimes

Transaotton Data: 12/29/2017

Payer Name: BRUCE THUMAS V EUUNTV UF 80

 

CIVIL FILINE FEE
For: BRUEE THUMAS V COUNTY UF SD
CaSe/Party: D-CAS*E-l7-EV‘002587"001
Amount: 3400.00

 

CASH
Amt Tendsred: $400.00

 

lotal Dus: $400.00
Total Tsndered: $400.00
Chanse Amt: $0.00

Thara will be a fee of $53.00
charged for any returned check.

 

